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          BlockFi Lending II LLC                                         22-19374
          Debtor                            Reporting Period: November 28-30, 2022

                            MONTHLY OPERATING REPORT
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BlockFi Lending II LLC                                                                                                       22-19374
Debtor                                                                                          Reporting Period: November 28-30, 2022

                                                         MONTHLY OPERATING REPORT

                                                        Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor                                                                                                                Case Number
 BlockFi Lending II LLC                                                                                                22-19374


                                                      MONTHLY OPERATING REPORT


Notes to MOR:

On November 28th, 2022 (the “Petition Date”), BlockFi Inc. and eight of its affiliates (collectively, the “Debtors”
or the “Company”) filed voluntary petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors
are operating their business and managing their properties as debtors-in-possession pursuant to sections
1107(a) and 1108 of the Bankruptcy Code. On November 28, 2022, the court entered an order [Docket No. 18]
authorizing joint administration and procedural consolidation of these Chapter 11 cases pursuant to Bankruptcy
Rule 1015(b) under the lead case In re BlockFi Inc., et al., Case No. 22-19361. On December 21, 2022, the United
States Trustee for the District of New Jersey (the “U.S. Trustee”) appointed an Official Committee of Unsecured
Creditors (the “Creditors Committee”) [Docket No. 131]. No request for the appointment of a trustee or
examiner has been made in these Chapter 11 cases.

BlockFi Lending II is a dormant entity.

The Debtors are filing their Monthly Operating Report solely for the purposes of complying with the monthly
operating report requirements applicable in the Debtors' Chapter 11 cases. The financial and supplemental
information contained herein is presented on a preliminary and unaudited basis, remains subject to future
adjustments, and may not comply in all material respects with generally accepted accounting principles in the
United States of America (“U.S. GAAP”) or International Financial Reporting Standards (“IFRS”). This Monthly
Operating Report should not be relied on by any persons for information relating to future financial conditions,
events, or performance of any of the Debtors or their affiliates.

The financial information has been derived from the books and records of the Debtors. This information,
however, has not been subject to certain procedures that would typically be applied to financial information in
accordance with U.S. GAAP or IFRS, and upon application of such procedures, the Debtors believe that the
financial information could be subject to changes, which could be material. The information furnished in this
report includes primarily normal recurring adjustments but does not include all adjustments that would typically
be made for financial statements prepared in accordance with U.S. GAAP or IFRS. The preparation of the
Financial Statements and MOR required the Debtors to make commercially reasonable estimates and
assumptions with respect to the reported amounts of assets and liabilities, the amount of contingent assets and
contingent liabilities at month end, and the reported amounts of revenues and expenses during the applicable
reporting periods. Actual results could differ from such estimates.
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BlockFi Lending II LLC                                                                                                       22-19374
Debtor                                                                                          Reporting Period: November 28-30, 2022

                                                         MONTHLY OPERATING REPORT

                                                        Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor                                                                                                                Case Number
 BlockFi Lending II LLC                                                                                                22-19374
All information presented has been translated using prevailing prices as of UTC 23:59:59 as of the applicable
period end. When determining the prices for digital assets and liabilities, the Company assesses the principal
market in which to sell the digital assets or in the absence of a principal market, the most advantageous market.
Market prices for such assets and liabilities may be volatile and not be readily ascertainable. In addition, the
Company’s ultimate realized value will be based on outcomes that are difficult to predict and outside of the
control of the Company. As a result, amounts ultimately realized by the Company may differ from the fair values
presented.

Client balances reflected in the financial statements and this Monthly Operating report are as of UTC 1:15:00
on November 11, 2022 (20:15:00 prevailing Eastern Time on November 10, 2022).

The Debtors reserve all rights to amend or supplement this Monthly Operating Report in all respects, as may be
necessary or appropriate. Nothing contained in this Monthly Operating Report shall constitute a waiver of any
of the Debtors' rights or an admission with respect to their Chapter 11 cases.
Debtor Full-Time Employees:

This MOR includes the number of full-time employees as of the Petition Date and November 30. As described
in the Wages Motion [Docket No. 16], the Debtors also employ Independent Contractors located outside of the
United States, whose salaries and benefits are included in the payroll amounts included in the MOR for the
employing debtor entity.

Notes to MOR Part 1

For the avoidance of doubt, the bank accounts, cash balances and associated cash receipts and disbursements
set forth do not include cash held in the “for the benefit of” accounts (“FBO Accounts”) as described in the
Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Honor Withdrawals from Wallet
Accounts, (B) Update the User Interface to Properly Reflect Transactions and Assets as of the Platform Pause,
and (C) Conduct Ordinary Course Reconciliation of Accounts, and (II) Granting Related Relief (the “ Wallet
Withdrawal Motion”) [Docket No. 121]. As discussed in the Wallet Withdrawal Motion, the Debtors do not have
a legal or equitable interest in the cash held in the Wallet Accounts; such held funds are owned by the Debtors’
clients. Note that digital assets attributable to Wallet Accounts are separately captured in Part 2 under Inventory
(2c).

Notes to MOR Part 2 & MOR Part 4

The information contained in MOR Part 2 & MOR Part 4 is provided to fulfill the requirements of the Office of
the United States Trustee. All information contained in MOR Part 2 & MOR Part 4 is unaudited and subject to
future adjustment.
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Debtor                                                                                          Reporting Period: November 28-30, 2022

                                                         MONTHLY OPERATING REPORT

                                                        Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor                                                                                                                Case Number
 BlockFi Lending II LLC                                                                                                22-19374
Accounts receivable (2a) represents intercompany receivables between BlockFi entities (“Intercompany
Receivables”).

Notes to MOR Part 7

Pursuant to certain orders of the Court in the chapter 11 cases entered shortly after the Petition Date [Docket
Nos. 43-44, 49, 50-52, and 55] (collectively, the “First Day Orders”), the Debtors were granted authority to pay
certain outstanding prepetition payables, including payments outlined in the Cash Management, Tax, Utility,
Insurance, Critical Vendor, and Wage Motions [Docket Nos. 7, 9-11, 13, and 16, respectively].
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   BlockFi Lending II LLC                                                22-19374
   Debtor                                   Reporting Period: November 28-30, 2022


                    SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Debtor name:                              BlockFi Lending II LLC
     Case number:                                     22-19374
     CASH BEGINNING OF PERIOD                                                $ -
     RECEIPTS
      Receipts                                                                     -
     TOTAL RECEIPTS                                                                -
     DISBURSEMENTS
                                                                                   -
     TOTAL DISBURSEMENTS                                                           -
     TRANSFERS
                                                                                   -
     TOTAL TRANSFERS                                                               -


     NET CASH FLOW                                                                 -
      (RECEIPTS LESS DISBURSEMENTS)                                                -


     CASH END OF MONTH                                                       $ -
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  BlockFi Lending II LLC                                                             22-19374
  Debtor                                                Reporting Period: November 28-30, 2022


                                              PART 2
                                     BALANCE SHEET (UNAUDITED)

   Debtor name:                                               BlockFi Lending II LLC
   Case number:                                                      22-19374
   Line item                                                      Current Period
   ASSETS
    Intercompany Receivable from Affiliate Entities                                 $ 500,000
   TOTAL ASSETS                                                                       500,000
   LIABILITIES AND MEMBERS' CAPITAL
   LIABILITIES
   TOTAL LIABILITIES                                                                       -

   TOTAL MEMBERS' CAPITAL                                                              500,000

   TOTAL LIABILITIES AND MEMBERS' CAPITAL                                           $ 500,000
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BlockFi Lending II LLC                                                        22-19374
Debtor                                           Reporting Period: November 28-30, 2022


                                       PART 4
                         STATEMENT OF OPERATIONS (UNAUDITED)

 Debtor name:                                          BlockFi Lending II LLC
 Case number:                                                 22-19374
 Line Item                                                 Current period
 REVENUES
 Interest and Fee Revenue                                                         $ -
 Other Revenue                                                                     -
 TOTAL REVENUE AND INTEREST INCOME                                                 -


 INTEREST AND TRADING EXPENSES
 Interest and Fee Expense                                                          -
 TOTAL INTEREST AND TRADING EXPENSES                                               -


 OPERATING EXPENSES
 General and Administrative                                                        -
 TOTAL OPERATING EXPENSES                                                          -

 OTHER OPERATING INCOME / (LOSS)                                                   -

 NET PROFIT / (LOSS)                                                              $ -
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BlockFi Lending II LLC                                                                                                             22-19374
Debtor                                                                                                Reporting Period: November 28-30, 2022

                                                        11/30 BANK ACCOUNTS

                                                                                   Account
                                                                                    number
                                                                                   (last four
   Entity name:                    Bank name                        Account type     digits)  Period-end bank balance       Currency
         BlockFi Lending II LLC   Silvergate Custodial / Trading account               -2705                    $ -           USD
     Total Debtor Amount                                                                                        $ -           USD
